THE COURT.
The plaintiff had judgment against the defendants for the return of money paid under an alleged agreement of sale for a certain lot or tract of land in a certain tract proposed to be numbered 4175. This is a companion case with that of P.H. Hubbard
v. Frank B. Turner and L.B. McCright (ante, p. 358 [294 P. 465]), this day decided. [1] The facts surrounding the execution of the purported contract for the sale of real estate are identical with those involved in the Hubbard case. No plat or map of the proposed tract had been filed for record at the time of the execution of the purported agreement of sale. The authorities cited in the case of Hubbard v. Turner and McCright are controlling here, and necessitate an affirmance of the judgment. And it is so ordered.